
PER CURIAM.
The appellant challenges an order by which the trial court denied his Florida Rule of Criminal Procedure 3.800(a) motion through which he alleged that his twenty-year sentence for attempted armed robbery is illegal because it exceeds the statutory maximum. Attempted armed robbery is a second degree felony which carries a statutory maximum of fifteen years unless an enhancement statute applies. In denying the appellant’s motion, the trial court indicated that the enhanced sentence is authorized because the appellant was sentenced as a habitual violent felony offender. But the trial court did not attach record excerpts demonstrating that the appellant was sentenced as a habitual violent felony offender. In the absence of such attachments, the order under review must be reversed. See Fla. R.App. P. 9.141(b)(2).
The order is therefore reversed, and this case is remanded to the trial court for *999further consideration of the appellant’s motion.
HAWKES, C.J., ALLEN, and CLARK, JJ., concur.
